Case 2:20-cv-04469-DMG-AS Document 48 Filed 04/28/21 Page 1 of 1 Page ID #:228




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                              UNITED STATES DISTRICT COURT
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 8                          CENTRAL DISTRICT OF CALIFORNIA
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     JAMES MATTHEW WOLF, individually Case No.: CV 20-4469-DMG (ASx)
10   and doing business as Jim Wolf and Veruca ORDER RE JOINT STIPULATION
     Records,                                  FOR DISMISSAL OF ACTION WITH
11
                                               PREJUDICE [47]
12               Plaintiff,
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                  vs.
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15   KDIGITAL MEDIA CO., LTD., a Korean
     business entity; CHARLIE AHN, an
16
     individual; and DOES 1 through 10,
17   inclusive,
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                  Defendants.
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21         Having considered the parties’ Joint Stipulation for Dismissal with Prejudice;
22         IT IS HEREBY ORDERED that, the entire action, including all claims and
23   counterclaims stated herein against all parties, is dismissed with prejudice. Each party
24   shall bear its or his own attorneys’ fees and costs.
25         IT IS SO ORDERED.
26   DATED: April 28, 2021                          ________________________________
                                                    DOLLY M. GEE
27
                                                    UNITED STATES DISTRICT JUDGE
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